THE COURT.
An application for a writ of habeas corpus. The petitioner is charged by a complaint filed in the Municipal Court of the City and County of San Francisco with a misdemeanor, to wit: vagrancy.[1] The form of the complaint is not questioned, but section 647
of the Penal Code defining vagrancy, by its terms, is not operative against a "California Indian", and it is alleged in the petition for this writ that petitioner "is an Indian of the Yakima Tribe, of Yakima, Washington". He contends, therefore, that the municipal court is without jurisdiction to try him for the offense of vagrancy. Admittedly, however, the municipal court has jurisdiction in vagrancy cases, and therefore the question of whether or not petitioner is of the race which exempts him from the operation of the vagrancy law manifestly is one of fact which must be determined upon trial of the action. It is not a proper subject of inquiry before this court in a proceeding on habeascorpus. The application is therefore denied.